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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF IOWA

 CATHY HUMBLE,              §
     Plaintiff,             §
                            §
                            §
 v.                         §                                       CASE NO. 4:18-cv-347
                            §
                            §
 CLIENT SERVICES, INC., and §
 CAPITAL ONE SERVICES, LLC, §
      Defendants.           §


                           DEFENDANT CLIENT SERVICES, INC.’S
                                 NOTICE OF REMOVAL


TO THE HONORABLE JUDGE:

         COMES NOW, Defendant CLIENT SERVICES, INC. (“CSI”) and files its

Notice of Removal as follows:

         1.       Plaintiff CATHY HUMBLE filed her state-court Petition on September

7, 2018 with the Marion County District Court located at 214 E. Main, Knoxville, IA

50138.

         2.       This is a civil action based on Plaintiff’s contention that CSI violated the

Fair Debt Collection Practices Act (“FDCPA”) and the Iowa Fair Debt Collection

Practices Act (“IDCPA”). This case is still pending in state court.

         3.       Removal is proper because this case involved a federal question—an

alleged violation of the FDCPA. This entire suit is removable under 28 U.S.C. §

1441(a).

         4.       Venue is proper in this district under 28 U.S.C. 1441(a) because the


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state court where the suit has been pending is located in this district.

         5.       Removal is timely pursuant to 28 U.S.C. § 1441(b) because ICS has filed

its Notice of Removal within 30 days of receipt of Plaintiff’s state-court Petition which

was served on ICS on September 13, 2018.

         6.       Pursuant to U.S.C. § 1441(a) and Local Rule 81 of the Southern District

of Iowa, the following documents and information has been attached as Exhibit A:

a) copies of all process and pleadings in the state court matter, b) a list of all motions

pending in the state court case (of which there are none), and c) the names of all

counsel and parties of record.

         7.       As of the date of this Notice of Removal, both Defendants to this action

have been served. Counsel for CSI has contacted counsel for Capital One Services,

LLC, through its authorized representatives, and it has consented to this Removal as

evidenced by the Notice of Consent attached hereto as Exhibit B.

         8.       A copy of this Notice of Removal has been sent to Plaintiff’s counsel and

will be filed with the clerk of the Marion County District Court.

         9.       A jury demand was not made in the state court proceeding.

         WHEREFORE, PREMISES CONSIDERED, CSI respectfully requests that

this Court assume full jurisdiction over the proceeding as provided by law.



Dated: October 12, 2018.                               Respectfully submitted,

                                                         Respectfully submitted,
                                                         MALONE AND MARTIN PLLC

                                                         /s/ Michael L. Frost

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                                                         COUNSEL FOR CLIENT SERVICES, INC.


                                       CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the above and foregoing has been served via
CM/ECF and certified mail to the Plaintiff on this 12th day of October, 2018.

                                            MARKS LAW FIRM
                                             Samuel Marks, Esq.
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                                                         /s/ Michael L. Frost
                                                         MICHAEL L. FROST




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